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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


JAMES G. CONNELL, III,

       7604 Edenwood Court
       Bethesda, MD 20817

                               Plaintiff,
                                                            Case No.: 1:22-cv-00131
v.

THE UNITED STATES CENTRAL INTELLIGENCE
AGENCY

       Washington, D.C. 20505

                               Defendant.


                          COMPLAINT FOR INJUNCTIVE RELIEF


        1. Plaintiff, James G. Connell, III, brings this action pursuant to the Freedom of
Information Act (“FOIA”), 5 U.S.C. § 552, demanding production of records responsive to
plaintiff’s FOIA requests for documents sent to or from detention sites administrated or affiliated
with the CIA during the 2003-2007 period involving Khalid Sheikh Mohammed, Ramzi Bin al
Shibh, Mustafa Ahmed Adam al Hawsawi, Walid Muhammad Salih Mubarak bin ‘Attash, Abd
al-Rahim al-Nashiri, Abdul Hadi al Iraqi (also known as Nashwan al-Tamir), Abu Zubaydah,
Majid Khan, and Saajid Badat (also known as Issa al-Britani), which defendant CIA has
improperly withheld from plaintiff.

       2. This Court has jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 552(a)(4)(B).

        3. Because part or all of the responsive records are located in this District, venue lies in
this District under 28 U.S.C. § 1391(e) and 5 U.S.C. §552(a)(4)(B).

       4. Plaintiff, James G. Connell III, is a defense attorney and is the requester of the records
which CIA is now withholding. Plaintiff has requested this information for use in a pending
criminal trial and prompt release of the information is essential to the case. This complaint is
based entirely on unclassified information.

       5. Defendant, Central Intelligence Agency, is an agency as prescribed in 5 U.S.C. §
551(1) and 5 U.S.C. § 552(f) and has possession of the documents that Mr. Connell seeks.
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        6. Plaintiff filed 9 FOIA requests to the CIA from November 1, 2021 until November 17,
2021.

            a. On November 1, 2021, Mr. Connell requested “Any and all documents sent to or
from detention sites administrated or affiliated with CIA (including Guantanamo Bay) during the
period 2003-2007 regarding Abdul Hadi al Iraqi, also known as Nashwan al-Tamir.”

            b. On November 2, 2021, Mr. Connell requested “Any and all documents sent to or
from detention sites administrated or affiliated with CIA (including Guantanamo Bay) during the
period 2003-2007 regarding Khalid Sheikh Mohammed.”

            c. On November 3, 2021, Mr. Connell requested “Any and all documents sent to or
from detention sites administrated or affiliated with CIA (including Guantanamo Bay) during the
period 2003-2007 regarding Ramzi Bin al Shibh.”

            d. On November 4, 2021, Mr. Connell requested “Any and all documents sent to or
from detention sites administrated or affiliated with CIA (including Guantanamo Bay) during the
period 2003-2007 regarding Mustafa Ahmed Adam al Hawsawi.”

            e. On November 5, 2021, Mr. Connell requested “Any and all documents sent to or
from detention sites administrated or affiliated with CIA (including Guantanamo Bay) during the
period 2003-2007 regarding Walid Muhammad Salih Mubarak bin 'Attash, also known as
Khallad.”

            f. On November 8, 2021, Mr. Connell requested “Any and all documents sent to or
from detention sites administrated or affiliated with CIA (including Guantanamo Bay) during the
period 2003-2007 regarding Abd al-Rahim al-Nashiri.”

            g. On November 9, 2021, Mr. Connell requested “Any and all documents sent to or
from detention sites administrated or affiliated with CIA (including Guantanamo Bay) during the
period 2003-2007 regarding Abu Zubaydah.”

            h. On November 15, 2021, Mr. Connell requested “Any and all documents sent to or
from detention sites administrated or affiliated with CIA (including Guantanamo Bay) during the
period 2003-2007 regarding Majid Khan.”

            i. On November 16, 2021, Mr. Connell requested “Any and all documents sent to or
from detention sites administrated or affiliated with CIA (including Guantanamo Bay) during the
period 2003-2007 regarding Saajid Badat, also known as Issa al-Britani.”

        7. Despite the properly placed request, the CIA has failed to provide a response within
the statutorily-mandated time frame of 20 working days for all 9 requests. The last request was
made on November 16, 2021, which would have put 20 working days at December 17, 2022.
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       8. Mr. Connell has a right of access to the requested information under 5 U.S.C. §
552(a)(3) and there is no legal basis for the CIA’s failure to turn over all of the requested
documentation that properly does not fall under a FOIA exemption.

   WHEREFORE, Mr. Connell respectfully requests that this Court:

   (1) Order the CIA to produce all documents that are responsive to Mr. Connell’s FOIA
       request;

   (2) Expedite this proceeding as provided for in 28 U.S.C. § 1657;

   (3) Award plaintiff reasonable litigation costs reasonably incurred in this action, pursuant to
       5 U.S.C. § 552(a)(4)(E); and

   (4) grant plaintiff such other relief as the Court deems appropriate.


                                              Respectfully submitted,

                                              /s/ James G. Connell, III

                                              James G. Connell, III


Dated: January 20, 2022
